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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )      Case No. 4:05CR3025
                                                 )
SOKHA KEO,                                       )
                                                 )
                            Defendant.           )

                                         ORDER

       THIS MATTER comes before the Court on defendant's Unopposed Motion to

Continue Plea Hearing, filing 160, from April 4, 2006, to a date certain not less than 60

days to coincide with co-defendant, Gary Oh Ward’s, trial in the above captioned matter.

The Court, being fully advised in the premises, and noting that the Government has no

objection, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that the defendant’s change of plea hearing shall

be continued in the above captioned matter to the 6th day of June, 2006 at 1:00 p.m. This

Court further finds that, based upon the showing set forth in defendant’s Motion, the ends

of justice will be served by continuing the plea hearing. Further, that taking such action

outweighs the best interests of the public and the defendant in a speedy trial. Accordingly,

the time from March 29, 2006, until the date next set for defendant’s plea hearing shall be

excluded from any speedy trial calculation pursuant to 18 U.S.C. §3161(h)(8)(A).

       Dated this 29th day of March, 2006.

                                          BY THE COURT


                                          s/ David L. Piester
                                          David L. Piester
                                          United States Magistrate Judge
